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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


DARRYL WEBB,
                                                                     CIVIL ACTION 1:15-cv-07762
Plaintiff,

v.                                                                       COMPLAINT

NEW PENN FINANCIAL, d/b/a SHELLPOINT
MORTGAGE SERVICING,                                            JURY TRIAL DEMANDED

Defendant.

                       COMPLAINT FOR RELIEF PURSUANT TO
                     THE FAIR DEBT COLLECTION PRACTICES ACT

         NOW COMES the Plaintiff, DARRYL WEBB (“Plaintiff”), by and through his

attorneys, Sulaiman Law Group, Ltd., complaining of the Defendant, NEW PENN FINANCIAL,

LLC, d/b/a SHELLPOINT MORTGAGE SERVICING (“Shellpoint”), as follows:

                                   NATURE OF THE ACTION

     1. Plaintiff brings this action against Shellpoint alleging violations of the Fair Debt

Collection Practices Act, 15 U.S.C. §1692, et seq. (“FDCPA”) and the Illinois Consumer Fraud

and Deceptive Business Practices Act, 815 ILCS 505/10a (“ICFA”).

                                    JURISDICTION AND VENUE

     2. Subject matter jurisdiction is conferred upon this Court by 15 U.S.C. §1692, 47 U.S.C.

§227, and 28 U.S.C. §§ 1331, 1337, as the action arises under the laws of the United States. This

Court has supplemental jurisdiction over state law claims pursuant to 28 U.S.C. §1367.

     3. Venue is proper in this Court pursuant to 28 U.S.C. §1391, as Shellpoint conducts

business in the Northern District of Illinois and Shellpoint’s collection communications and

practices impacted Plaintiff within the Northern District of Illinois.



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                                               PARTIES

   4. Plaintiff Darryl Webb is a natural person residing at 1041 Forest Hill Street, Calumet

City, Illinois 60409.

   5. Defendant Shellpoint is a limited liability company with its principal office located at

4000 Chemical Road, Suite 200, Plymouth Meeting, Pennsylvania 19462 and its registered agent

is Illinois Corporation Service C located at 801 Adlai Stevenson Drive, Springfield, Illinois

62703.

   6. Shellpoint is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692 a(6) because

it regularly uses the mails and/or the telephone to collect, or attempt to collect, delinquent

consumer accounts.

                         FACTS SUPPORTING CAUSE OF ACTION

   7. In August 2005, Plaintiff obtained a second mortgage loan (“subject debt”) from Ocwen

Loan Servicing, LLC (“Ocwen”) secured by his primary residence located at 1041 Forest Hill

Street, Calumet City, Illinois 60409.

   8. Plaintiff defaulted on the subject debt in late 2009.

   9. On December 31, 2012, Plaintiff filed a Chapter 7 bankruptcy petition in the United

States Bankruptcy Court, Northern District of Illinois, Case Number 12-50954, invoking the

protections of the bankruptcy automatic stay pursuant to 11 U.S.C. §362. See Exhibit A, attached

hereto and incorporated herein by reference.

   10. At the time Plaintiff filed bankruptcy, Ocwen serviced the subject debt.

   11. The subject debt was duly scheduled in Plaintiff’s bankruptcy petition Schedule D. See

attached Exhibit B, attached hereto and incorporated herein by reference.




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   12. On or about January 5, 2013, the Bankruptcy Noticing Center (“BNC”) mailed a copy of

the Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines to all creditors

listed on the Bankruptcy Petition and Schedules, including Ocwen. See attached Exhibit C,

attached hereto and incorporated herein by reference.

   13. The BNC notice also provided Ocwen with the name and address of Plaintiff’s counsel

and expressly stated that “contacting the debtor by phone” and “taking actions to collect money

or obtain property from the debtor” was prohibited by the Bankruptcy Code. Id.

   14. The 341 meeting of creditors was held on March 19, 2013.

   15. A representative of Ocwen was not present at the 341 meeting of creditors.

   16. On April 24, 2013, Plaintiff received a discharge of all dischargeable debts pursuant to 11

U.S.C. §1328, including the subject debt. See attached Exhibit D, a true and correct copy of the

Discharge Order.

   17. On April 24, 2013, the BNC provided Ocwen with notice of the Chapter 7 discharge. See

attached Exhibit E, attached hereto and incorporated herein by reference.

   18. The discharge order expressly stated that:

                “[t]he discharge prohibits any attempt to collect from the debtor a debt that has
               been discharged … a creditor is not permitted to contact a debtor by mail, phone,
               or otherwise … to collect a discharged debt from the debtor.” Id.

   19. Plaintiff continued to receive payment demands and notices from Ocwen after the

bankruptcy filing and through May 2015.

   20. Upon information and belief, Ocwen transferred the subject debt to Defendant for

collection on or before July 22, 2015, after Plaintiff had defaulted on the subject debt.




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    21. On July 28, 2015, Defendant sent Plaintiff a notice informing Plaintiff that Ocwen had

transferred the servicing rights of the subject debt to Defendant. See attached Exhibit F, attached

hereto and incorporated herein by reference.

    22. The July 28, 2015 notice stated:

                 “ This is an attempt to collect a debt and any information obtained will be used
                for that purpose.” Id.

    23. The July 28, 2015 notice also included a detachable payment coupon which demanded

payment of $398.46 by November 1, 2009. Id.

    24. The payment due date listed on the July 28, 2015 notice was a date that was almost 6

years prior to the date the notice was sent to Plaintiff. Id.

    25. Defendant’s collection attempt was made with actual knowledge of Plaintiff’s

bankruptcy.

    26. The collection attempt was highly confusing and upsetting to Plaintiff.

    27. Plaintiff has suffered significant emotional distress and mental anguish as a result of

Defendant’s harassing collection attempt.

    28. Plaintiff has expended time consulting with his attorneys as a result of Defendant’s

deceptive collection actions.

    29. Concerned about the violations of his rights, Plaintiff sought the assistance of counsel to

ensure that Defendant’s collection efforts ceased.

               COUNT I -- VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT

    30. Plaintiff repeats and realleges paragraphs 1 through 29 as though fully set forth herein.

    31. Defendant violated 15 U.S.C. §§ 1692e(2), 1692e(10), and 1692f through its debt

collection efforts.




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    32. Defendant violated 15 U.S.C. §1692e(2) when it misrepresented the character, amount, or

legal status of the subject debt by demanding payment on a debt which was no longer owed by

virtue of Plaintiff’s discharge.

    33. Similarly, Defendant violated 15 U.S.C. §1692e(10) when it falsely represented that the

subject debt was collectable at the time of the demand as the subject debt was not collectable by

virtue of Plaintiff’s discharge.

    34. Defendant violated 15 U.S.C. §1692f by employing unfair and unconscionable means to

collect the subject debt by attempting to induce Plaintiff into making payments on a debt that is

not legally owed.

    35. As pled in paragraphs 26 through 29, Plaintiff suffered damages as a direct result of

Defendant’s collection efforts.

    WHEREFORE, Plaintiff, DARRYL WEBB, respectfully requests that this Honorable Court

enter judgment in his favor as follows:

    a. declaring that the practices complained of herein are unlawful and violate the
       aforementioned statute;

    b. awarding Plaintiff statutory damages of $1,000 as prescribed by the FDCPA;

    c. awarding actual damages, in an amount to be determined at trial, for the underlying
       FDCPA violations;

    d. awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C. §1692;
       and

    e. awarding any other relief as this Honorable Court deems just and appropriate.

      C OUNT II -- VIOLATION OF I LLINOIS C ONSUMER F RAUD AND DECEPTIVE BUSINESS
                                      P RACTICES ACT

    36. Plaintiff restates and realleges paragraphs 1 through 29 as though fully set forth herein.




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   37. Defendant violated 815 ILCS 505/2 by engaging in unfair and deceptive acts or practices

by attempting to collect a discharged debt from Plaintiff.

   38. The Illinois Consumer Fraud and Deceptive Business Practices Act (“ICFA”) states:

               Unfair methods of competition and unfair or deceptive acts or practices,
               including but not limited to the use or employment of any deception,
               fraud, false pretense, false promise, misrepresentation or the
               concealment, suppression or omission of any material fact, with intent
               that others rely upon the concealment, suppression or omission of such
               material fact . . . in the conduct of any trade or commerce are hereby
               declared unlawful whether any person has in fact been misled, deceived
               or damaged thereby. 815 ILCS 505/2.

   39. Plaintiff is a “consumer” as defined by ICFA, 815 ILCS 505/1(e).

   40. Defendant’s attempt to collect a debt is part of the conduct of any trade or commerce as

defined by ICFA, 815 ILCS 505/1(f).

   41. Defendant’s conduct in relation to the subject debt was willful, malicious, unfair, and

designed to coerce Plaintiff into paying a debt that was not owed at the time the demand for

payment was made.

   42. Defendant’s conduct offends public policy as it demonstrates an industry-wide practice of

attempting to collect debt discharged in bankruptcy.

   43. Defendant’s conduct is unfair because continuing to collect debt discharged in

bankruptcy serves only to harass, abuse, and oppress debtors such as Plaintiff that have sought

and received the protections of a bankruptcy discharge.

   44. Defendant’s demand for payment on a debt that was discharged in bankruptcy amounts to

a deceptive practice designed to facilitate the collection of debt that is not owed.

   45. Defendant’s collection efforts were deceptive because the subject debt was no longer

owed by Plaintiff by virtue of his Chapter 7 discharge.




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   46. Defendant had no right to collect the subject debt or to represent to Plaintiff that he was

obligated to pay the subject debt.

   47. Defendant made material misrepresentations regarding the status of the subject debt and

Plaintiff’s obligations to pay the subject debt.

   48. Defendant attempted to deceive Plaintiff into believing that he had to pay the subject

debt.

   49. Plaintiff was harmed by Defendant’s collection efforts. Plaintiff incurred legal fees and

costs, suffered from undue stress and confusion, and was prevented from receiving a “fresh start”

through bankruptcy.

   WHEREFORE, Plaintiff, DARRYL WEBB, respectfully requests that this Honorable Court

enter judgment in his favor as follows:

   a. declaring that the practices complained of herein are unlawful and violate the
      aforementioned statute;

   b. awarding Plaintiff actual and punitive damages, in an amount to be determined at trial,
      for the underlying violations;

   c. awarding the Plaintiff costs and reasonable attorney fees; and

   d. awarding any other relief as this Honorable Court deems just and appropriate.


Dated: September 2, 2015                       Respectfully Submitted,

                                               /s/ Nick Wooten
                                               Nick Wooten
                                               Counsel for Plaintiff
                                               Sulaiman Law Group, Ltd.
                                               of Counsel
                                               900 Jorie Blvd., Suite 150
                                               Oak Brook, IL 60523
                                               Tel. (630) 575-8181
                                               Fax (630) 575-8188
                                               Email: nick@nickwooten.com



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